Case 18-71768-pmb       Doc 81    Filed 02/23/22 Entered 02/23/22 11:22:55          Desc Main
                                  Document Page 1 of 4




    IT IS ORDERED as set forth below:



    Date: February 23, 2022
                                                   ________________________________
                                                               Paul Baisier
                                                       U.S. Bankruptcy Court Judge

    _______________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


INRE:                                                     CASE NO. 18-71768-PMB

EARL E. CLOUD, III,                                        CHAPTER 7

          Debtor.

    ORDER APPROVING SETTLEMENT WITHDEBTOR UNDER RULE 9019 OF THE
               FEDERALRULESOFBANKRUPTCYPROCEDUR E

         On January 27, 2022, S. Gregory Hays, as Chapter 7 Trustee ("Trustee") for the

bankruptcy estate (the "B ankruptcy Estate") of Earl E. Cloud, III ("Debtor"), filed his Motion

for Order Authorizing Compromise and Settlement with Debtor under Rule 9019 of the Federal

Rules of Bankruptcy Procedure [Doc. No. 79] (the "Motion"), seeking an order, among other

things, approving a Settlement Agreement 1 pursuant to which, inter alia,2 Trustee, on the one


       Capitalized terms used herein but not otherwise defined shall have the meanings ascribed
to them in the Motion.
2
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the terms of the Settlement Agreement shall control.

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Case 18-71768-pmb         Doc 81    Filed 02/23/22 Entered 02/23/22 11:22:55              Desc Main
                                    Document Page 2 of 4




hand, and Debtor, on the other hand, settle certain claims that the Bankruptcy Estate has

regarding that certain real property with a common address of 24 Leslie Drive, NE, Atlanta,

Georgia 30307 (the "Property") for a total payment of $80,000.00 (the "$80,000.00 Settlement

Funds")3 from Debtor in exchange for Trustee's abandoning the Property to Debtor. The exact

terms of the Settlement Agreement are set forth in Exhibit "A" to the Motion.

        On January 27, 2022, Trustee filed Notice of Trustee's Motion for Order Authorizing

Compromise and Settlement with Debtor under Rule 9019 of the Federal Rules of Bankruptcy

Procedure; Deadline to Object and Hearing [Doc. No. 79] (the "Notice") regarding the Motion,

in accordance with the Second Amended and Restated General Order No. 24-2018. Counsel for

Trustee certifies that he served the Notice on all requisite parties in interest on January 27, 2022.

[Doc. No. 80].

        The Notice provided notice of the opportunity to object and for hearing, scheduled for

February 28, 2022, pursuant to the procedures in the Second Amended and Restated General

Order No. 24-2018. No objection to the Motion was filed prior to the objection deadline

provided in the Notice.

        The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and based on the foregoing, finding that

no further notice or hearing is necessary; and the Court having found that good cause exists to

grant the relief requested in the Motion, it is hereby



3      Pursuant to the Settlement Agreement, Debtor will pay $25,000.00 as a lump sum
followed by 24 monthly payments of$2,291.67 each.




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Case 18-71768-pmb         Doc 81     Filed 02/23/22 Entered 02/23/22 11:22:55         Desc Main
                                     Document Page 3 of 4




        ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

its terms are incorporated herein. It is further

        ORDERED that Trustee and Debtor may take any other actions necessary to effectuate

the terms of the Settlement Agreement. It is further

        ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)

enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

or implementation of this Order.

                                     [END OF DOCUMENT]




Order prepared and presented by:

HERBERT C. BROADFOOT II, P.C.
Attorneysfor Trustee

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Identification of entities to be served:

Office of the United States Trustee
362 Richard B. Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303




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Case 18-71768-pmb        Doc 81       Filed 02/23/22 Entered 02/23/22 11:22:55   Desc Main
                                      Document Page 4 of 4




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